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                                                                                                       FILED IN CLERK'S OFFICE
    Fill in this information to identify your case:
                                                                                                       U.S. BANKRUPTCY COURT
                                                                                                          NORTHERN 01-31RICT
                                                                                                              OF GEORGIA
    United States Bankruptcy Court for the:

     Northern District of Georgia                                                                      2023 JUL 25 PM 2: 1+8
     Case number (If known):                                           Chapter you are filing under:         %VIA S. ALLEN
                                                                       Ig Chapter 7                             ,CLERK
                                                                                                                                           ck if this is an
                                                                       CI Chapter 11
                                                                                                                                                 d filing


                    56
                                                                       LI Chapter 12
   /3                            .      sili      e -.
                                                                       Li
                                       1 . rnre.
              mug                                                         Chapter 13
                          i'Ay

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


 Part 1:     Identify Yourself

                                      About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
 1. Your full name
                                      Adrian
     Write the name that is on your   First name                                                          First name
     government-issued picture
     identification (for example,
     your driver's license or         Middle name                                                         Middle name
     passport).                       Young
                                      Last name                                                           Last name
     Bring your picture
     identification to your meeting
     with the trustee.                Suffix (Sr., Jr., II, Ill)                                          Suffix (Sr., Jr., II, Ill)


 2. All other names you
                                      First name                                                          First name
    have used in the last 8
    years
                                      Middle name                                                         Middle name
     Include your married or
     maiden names and any
                                      Last name                                                           Last name
     assumed, trade names and
     doing business as names.
                                      First name                                                          First name
     Do NOT list the name of any
     separate legal entity such as
                                      Middle name                                                         Middle name
     a corporation, partnership, or
     LLC that is not filing this
     petition.                        Last name                                                           Last name


                                      Business name (if applicable)                                       Business name (if applicable)


                                      Business name (if applicable)                                       Business name (if applicable)




 3. Only the last 4 digits of
                                      XXX      — xx—               4        1     1      1
    your Social Security
    number or federal                 OR                                                                  OR
    Individual Taxpayer
    Identification number             9 xx — xx —                                                         9 xx — xx —
    (ITIN)

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Debtor 1     Adrian                               Young                                          Case number (,rknown)
              First Name   Middle Name              Last Name



                                         About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


 4. Your Employer
    Identification Number                EIN                                                             EIN
    (EIN), if any.

                                         EIN                                                             EIN




 6.   Where you live                                                                                     If Debtor 2 lives at a different address:


                                         3411 Rozenea Way
                                         Number          Street                                          Number          Street




                                         Loganville                          GA        30052
                                         City                                State    ZIP Code           City                                 State      ZIP Code

                                         Gwinnett
                                         County                                                          County


                                         If your mailing address is different from the one               If Debtor 2's mailing address is different from
                                         above, fill it in here. Note that the court will send           yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                     any notices to this mailing address.



                                         Number          Street                                          Number          Street



                                         P.O. Box                                                        P.O. Box



                                         City                                State    ZIP Code           City                                  State     ZIP Code




 6. Why you are choosing                 Check one:                                                      Check one:
    this district to file for
                                         0 Over the last 180 days before filing this petition,           1p Over the last 180 days before filing this petition,
    bankruptcy
                                           I have lived in this district longer than in any                 I have lived in this district longer than in any
                                           other district.                                                  other district.

                                         U I have another reason. Explain.                               U I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                         (See 28 U.S.C. § 1408.)




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Debtor 1        Adrian                               Young                                         Case number (if known)
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                           VI Chapter 7
      under
                                           O Chapter 11

                                           O Chapter 12

                                           CI Chapter 13

8.    How you will pay the fee             I0 I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                           O I need to pay the fee in installments. If you choose this option, sign and attach the
                                             Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           0 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                             less than 150% of the official poverty line that applies to your family size and you are unable to
                                             pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                             Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9. Have you filed for                      CI No
   bankruptcy within the
                                           0 Yes. District NDGA                           When    02/03/2018           Case number
   last 8 years?
                                                                                                  MM / DD / YYYY

                                                     District                             When                        Case number
                                                                                                  MM! DD / YYYY

                                                     District                             When                        Case number
                                                                                                  MM! DD / YYYY




is. Are any bankruptcy                     •   No
    cases pending or being
    filed by a spouse who is               0 Yes. Debtor                                                               Relationship to you
    not filing this case with                        District                             When                         Case number, if known
    you, or by a business                                                                         MM / DD / YYYY
    partner, or by an
    affiliate?
                                                     Debtor                                                            Relationship to you

                                                     District                             When                         Case number, if known
                                                                                                  MM /DD / YYYY



      Do you rent your                     0 No.  Go to line 12.
      residence?                           O Yes. Has your landlord obtained an eviction judgment against you?

                                                     O No. Go to line 12.
                                                     O Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                       part of this bankruptcy petition.




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Debtor 1       Adrian                               Young                                         Case number (ilknown)
              First Name    Middle Name            Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor             0 No. Go to Part 4.
    of any full- or part-time
    business?                             U Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                  Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
                                                  Number        Street
    LLC.
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                                    City                                                  State           ZIP Code


                                                  Check the appropriate box to describe your business:

                                                  U Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  U Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  U Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  U None of the above


13. Are you filing under                  If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                     choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                  are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
                                          most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                          if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §               0 No. I am not filing under Chapter 11.
    1182(1)?                              0 No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                     the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).
                                          0 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                  Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                          CI Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                  Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




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Debtor 1      Adrian                             Young                                        Case number (if known)
              First Name    Middle Name          Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any                 No
     property that poses or is
     alleged to pose a threat             lj Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
                                                  If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                   Where is the property?
                                                                            Number       Street




                                                                            City                                       State   ZIP Code




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Debtor 1       Adrian                                Young                                              Case number of known)
              First Name     Middle Name            Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling


                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only In a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                 You must check one:
    counseling.
                                              I received a briefing from an approved credit                    LI I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                       counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                           certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you
                                              I received a briefing from an approved credit                    CI I received a briefing from an approved credit
    cannot do so, you are not
                                              counseling agency within the 180 days before I                       counseling agency within the 180 days before I
    eligible to file.
                                              filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                           certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                        plan, if any.
    you paid, and your creditors
    can begin collection activities        0 I certify that I asked for credit counseling                      0 I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                            services from an approved agency, but was
                                              unable to obtain those services during the 7                         unable to obtain those services during the 7
                                              days after I made my request, and exigent                            days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                  of the requirement.
                                              To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                              required you to file this case.                                      required you to file this case.
                                              Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                        You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                              may be dismissed.                                                    may be dismissed.
                                              Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                              days.                                                                days.

                                           O I am not required to receive a briefing about                     0 I am not required to receive a briefing about
                                              credit counseling because of:                                        credit counseling because of:

                                              O Incapacity.      I have a mental illness or a mental               U Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                             deficiency that makes me
                                                                 incapable of realizing or making                                     incapable of realizing or making
                                                                 rational decisions about finances.                                   rational decisions about finances.
                                              O Disability.      My physical disability causes me                  O Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                     to be unable to participate in a
                                                                 briefing in person, by phone, or                                     briefing in person, by phone, or
                                                                 through the internet, even after I                                   through the internet, even after I
                                                                 reasonably tried to do so.                                           reasonably tried to do so.
                                              O Active duty. I am currently on active military                     O Active duty. I am currently on active military
                                                             duty in a military combat zone.                                      duty in a military combat zone.

                                              If you believe you are not required to receive a                     If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




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Debtor 1      Adrian                               Young                                          Case number (of {mown)
             First Name   Middle Name             Last Name




Part 6:     Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                             O No. Go to line 16b.
                                             EI Yes. Go to line 17.

                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                             O No. Go to line 16c.
                                             O Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                          0 No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after             Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                      administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                  21 No
    administrative expenses
    are paid that funds will be                   0 Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do               VI 1-49                                0 1,000-5,000                               0 25,001-50,000
    you estimate that you               0 50-99                                0 5,001-10,000                              0 50,001-100,000
    owe?                                0 100-199                              0 10,001-25,000                             CI More than 100,000
                                        0 200-999
19. How much do you                        $0-$50,000                              $1,000,001-$10 million                    $500,000,001-$1 billion
    estimate your assets to             0 $50,001-$100,000                         $10,000,001-$50 million                   $1,000,000,001-$10 billion
    be worth?                              $100,001-$500,000                       $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                           $500,001-$1 million                     $100,000,001-$500 million               0 More than $50 billion
20. How much do you                     lI $0-$50,000                              $1,000,001-$10 million                  0 $500,000,001-51 billion
    estimate your liabilities              $50,001-$100,000                    0 $10,000,001-$50 million                     $1,000,000,001-$10 billion
    to be?                                 $100,001-$500,000                       $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                           $500,001-$1 million                     $100,000,001-$500 million               0 More than $50 billion
Part 7:     Sign Below

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                 correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                           Signature of Debtor 1                                            Signature of Debtor 2

                                           Executed on 01                                                   Executed on
                                                       MM          DD / YYY                                                MM    DD   /YYYY


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Debtor 1     Adrian                              Young                                      Case number (if know,)
             First Name   Middle Name            Last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.

                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                        lj No
                                        •     Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                        LI No
                                        Uf Yes

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                        U No
                                        lA Yes. Name of Person Jeffery Favors
                                                Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.




                                            Signature of Debtor 1                                      Signature of Debtor 2

                                        Date                                                           Date
                                                             MM / DD    / YYYY                                          MM! DD / YYYY

                                        Contact phone         (470) 348-9914                           Contact phone


                                        Cell phone                                                     Cell phone


                                        Email address                  S'CLXIV('3\Y\C         kVIN Email address
immiremmunr

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   Fill in this informati n to identify your case:


   Debtor 1             Adrian                                           Young
                        First Name              Middle Name               Last Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name               Last Name


   United States Bankruptcy Court for the: Northern District of Georgia

   Case number
   (If known)                                                                                                                         0 Check if this is an
                                                                                                                                         amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                    04/22

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1;         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        Li Married
             Not married


   2   During the last 3 years, have you lived anywhere other than where you live now?

             No
       uf Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
                Debtor 1:                                           Dates Debtor 1    Debtor 2:                                            Dates Debtor 2
                                                                    lived there                                                            lived there


                                                                                      1:1 Same as Debtor 1                                LI Same as Debtor 1

                  62 Harwell Rd                                     From 03/01/2018                                                          From
                 Number              Street                                              Number Street
                                                                    To     03/17/2023                                                        To
                  1-4

                  Atlanta                     Ga      30311
                 City                         State ZIP Code                             City                      State ZIP Code

                                                                                      1:1 Same as Debtor 1                                0 Same as Debtor 1
                                                                    From                                                                     From
                 Number              Street                                              Number Street
                                                                    To                                                                       To




                 City                         State ZIP Code                              City                     State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and W)sconsin.)
       Eic No
        LI Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


   Part 2: Explain the Sources of Your Income

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Debtor 1        Adrian                                                 Young                         Case number Of known)
                First Name      Middle Name           Last Name




 4   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     1:1 No
           Yes. Fill in the details.

                                                            D.0bto'r                                           Debtor 1

                                                            Sources of income         Gross income             Sources of income          Gross income
                                                            Check all that apply.     (before deductions and   Check all that apply.      (before deductions and
                                                                                      exclusions)                                         exclusions)

            From January 1 of current year until             U Wages, commissions,                             U Wages, commissions,
                                                               bonuses, tips                                     bonuses, tips
            the date you filed for bankruptcy:
                                                             U Operating a business                            U Operating a business

                                                            U Wages, commissions,                              U Wages, commissions,
            For last calendar year:
                                                              bonuses, tips                                      bonuses, tips
            (January 1 to December 31 2022                ) U Operating a business                             U Operating a business
                                              YYYY



            For the calendar year before that:               Ri Wages, commissions,                            U Wages, commissions,
                                                              bonuses, tips
                                                                                                 1,200.00          bonuses, tips
            (January 1 to December 31 2021                ) U Operating a business                             L-1 Operating a business
                                              YYYY




 5   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     g     No
     U     Yes. Fill in the details.



                                                             Sources of income        Gross income from          Sources of income        Gross income from
                                                             Describe below.          each source                Describe below.          each source
                                                                                      (before deductions and                              (before deductions and
                                                                                      exclusions)                                         exclusions)



             From January 1 of current year until
             the date you filed for bankruptcy:




             For last calendar year:
             (January 1 to December 31,2022           )
                                              YYYY




             For the calendar year before that:
             (January 1 to December 31,2021           )
                                              YYYY




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Debtor 1       Adrian                                                    Young                      Case number Of known)
               First Name         Middle Name            Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

               Li No. Go to line 7.
               U Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

     El Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               0 No. Go to line 7.
               CI Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                              creditor. Do not include payments for domestic support obligations, such as child support and
                              alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                         Dates of    Total amount paid          Amount you still owe   Was this payment for...
                                                                         payment


                                                                                                                                          Mortgage
                      Creditor s Name
                                                                                                                                       0 Car
                       Number     Street                                                                                               0 Credit card
                                                                                                                                       Li Loan repayment

                                                                                                                                       0 Suppliers or vendors
                       City                     State         ZIP Code
                                                                                                                                       0 Other


                                                                                                                                       0 Mortgage
                       Creditors Name
                                                                                                                                       0 Car
                       Number     Street
                                                                                                                                       0 Credit card
                                                                                                                                       CI Loan repayment
                                                                                                                                       0 Suppliers or vendors
                                                                                                                                       CI Other
                       City                     State         ZIP Code




                                                                                                                                       CI Mortgage
                       Creditor's Name
                                                                                                                                       CI Car
                       Number      Street
                                                                                                                                       0 Credit card
                                                                                                                                       0 Loan repayment
                                                                                                                                       0 Suppliers or vendors
                                                                                                                                       O Other
                       City                     State         ZIP Code




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Debtor 1        Adrian                                                    Young                      Case number Of known)
                   First Name      Middle Name            Last Name




: 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     g     No
     ZI Yes. List all payments to an insider.
                                                                           Dates of   Total amount      Amount you still     Reason for this payment
                                                                           payment    paid              owe



            Insider's Name



            Number        Street




            City
                                   -             State    ZIP Code




            Insider's Name


            Number        Street




            City                                 State    ZIP Code



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     El No
     Cl Yes. List all payments that benefited an insider.
                                                                           Dates of   Total amount      Amount you still     Reason for this payment
                                                                           payment    paid              owe                  Include creditor's name



            Insider's Name



            Number        Street




            City                                 State    ZIP Code




            Insider's Name



            Number        Street




            City                                 State    ZIP Cm!,




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Debtor 1        Adrian                                                        Young                           Case number tificnonvot
                First Name            Middle Name            Last Name



  Part 4:      Identify Legal Actions, Repossessions, and Foreclosures
 9   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     fif No
     LI Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                               Status of the case


            Case title                                                                                                                                 U Pending
                                                                                                         ourt Name
                                                                                                                                                       U On appeal

                                                                                                       Number     Street                               U Concluded

            Case number
                                                                                                       City                      State   ZIP Code



            Case title                                                                                                                                 U Pending
                                                                                                       .Court Name
                                                                                                                                                       U On appeal

                                                                                                       Number     Street                               U Concluded

            Case number
                                                                                                       City                      State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     ad No. Go to line 11.
     U Yes. Fill in the information below.

                                                                              Describe the property                                       Date       Value of the property



                 Creditors Name


                 Number      Street                                           Explain what happened

                                                                              U    Property was repossessed.
                                                                              U    Property was foreclosed.
                                                                              U    Property was garnished.
                 City                               State    ZIP Code         U    Property was attached, seized, or levied.

                                                                              Describe the property                                       Date        Value of the propertl




                 Creditors Name


                 Number      Street
                                                                              Explain what happened

                                                                                   Property was repossessed.
                                                                                   Property was foreclosed.
                                                                                   Property was garnished.
                 City                               State    ZIP Code
                                                                                   Property was attached, seized, or levied.



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Debtor 1          Adrian                                                  Young                          Case number (if known)
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
        No
     Li Yes. Fill in the details.

                                                                 Describe the action the creditor took                            Date action       Amount
                                                                                                                                  was taken
           Creditors Name



           Number      Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX-


 12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?
        No
     Li Yes

                  List Certain Gifts and Contributions


 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
       No
     U Yes. Fill in the details for each gift.

            Gifts with a total value of more than $600           Describe the gifts                                               Dates you gave       Value
            per person                                                                                                            the gifts




           Person to Whom You Gave the Gift




           Number      Street


           City                           State   ZIP Code

           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                               Dates you gave      Value
           per person                                                                                                             the gifts




           Person to Whom You Gave the Gift




           Number      Street


           City                           State   ZIP Code

           Person's relationship to you


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Debtor 1           Adrian                                                 Young                             Case number (if known)
                   First Name      Middle Name          Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     Lif No
     CI Yes. Fill in the details for each gift or contribution.
            Gifts or contributions to charities                Describe what you contributed                                          Date you          Value
            that total more than $600                                                                                                 contributed




           Charity's Name




           Number       Street



           City           State     ZIP Code




CM"                List Certain Losses

 15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

           No
     1".:i Yes. Fill in the details.


            Describe the property you lost and                  Describe any insurance coverage for the loss                          Date of your      Value of property
            how the loss occurred                                                                                                     loss              lost
                                                                Include the amount that insurance has paid. List pending insurance
                                                                claims on line 33 of Schedule A/13: Property.




                  List Certain Payments or Transfers
 16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     LI No
     Ri Yes. Fill in the details.
                                                                Description and value of any property transferred                     Date payment or   Amount of payment
            Jeffery Favors                                                                                                            transfer was
            Person Who Was Paid                                                                                                       made

            2133 Lawrenceville Suwanee
            Number        Street                                                                                                     I 07/25/2023                 100.00
            Ste 12-126

            Suwanee                     GA       30024
            City                        State    ZIP Code


            Email or website address

            Person Who Made the Payment, if Not You


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Debtor 1           Adrian                                                     Young                          Case number of known)
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or      Amount of
                                                                                                                                     transfer was made    payment

           Person Who Was Paid


           Number        Street




           City                         State    ZIP Code




           Email or website address


           Person Who Made the Payment, if Not You


 17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

     64 No
     1:1 Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or      Amount of payment
                                                                                                                                     transfer was
                                                                                                                                     made
            Person Who Was Paid


            Number        Street




            City                        State    ZIP Code

  18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     if No
     El Yes. Fill in the details.

                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made

           Person Who Received Transfer


            Number        Street




            City                        State    ZIP Code


            Person's relationship to you



            Person Who Received Transfer


            Number        Street




            City                        State    ZIP Code

            Person's relationship to you


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Debtor 1       Adrian                                                        Young                         Case number      known)
                   First Name      Middle Narne          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset- protection devices.)

     VA No

     LI Yes. Fill in the details.


                                                                 Description and value of the property transferred                                             Date transfer
                                                                                                                                                               was made


           Name of trust




11:00 List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units
 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     g No
     U Yes. Fill in the details.

                                                                     Last 4 digits of account number   Type of account or            Date account was       Last balance before
                                                                                                       instrument                    closed, sold, moved,   closing or transfer
                                                                                                                                     or transferred

            Name of Financial Institution
                                                                                                       U Checking

            Number        Street
                                                                                                       U Savings
                                                                                                       U Money market
                                                                                                       U Brokerage
            City                         State    ZIP Code
                                                                                                       U Other


                                                                                                       U Checking
            Name of Financial Institution
                                                                                                       U Savings

            Number        Street                                                                       U Money market
                                                                                                       U Brokerage
                                                                                                       U Other
            City                         State    ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
     Ut No
     U Yes. Fill in the details.
                                                                     Who else had access to it?                   Describe the contents                            Do you still
                                                                                                                                                                   have it?

                                                                                                                                                                   U No
            Name of Financial Institution                                                                                                                          U Yes
                                                                 Name


            Number        Street                                 Number      Street


                                                                 City          State     ZIP Code

            City                         State    ZIP Code



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Debtor 1          Adrian                                                       Young                                   Case number (ifimoi,,)
                   First Name      Middle Name              Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    0      No
    0 Yes. Fill in the details.
                                                                   Who else has or had access to it?                         Describe the contents            Do you still
                                                                                                                                                              have It?

                                                                                                                                                               U No
            Name of Storage Facility                                Name
                                                                                                                                                               0 Yes
            Number        Street                                    Number    Street



                                                                    CityState ZIP Code


            City                        State    ZIP Code


                     Identify Property You Hold or Control for Someone Else

 23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.
     LI No
     ZI Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property          Value


            Owner's Name


                                                                  Number     Street
            Number        Street




                                                                  City                            State     ZIP Code
            City                        State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

  i Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     0     No
     ZI Yes. Fill in the details.
                                                                   Governmental unit                            Environmental law, if you know It       Date of notice



           Name of site                                           Governmental unit


           Number       Street                                    Number     Street


                                                                  City                   State   ZIP Code



           City                        State     ZIP Code




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Debtor 1       Adrian                                                     Young                            Case number (flmown)
                   First Name   Middle Name          Last Name



 25. Have you notified any governmental unit of any release of hazardous material?

     lit No
     U Yes. Fill in the details.
                                                            Governmental unit                          Environmental law, if you know it                   Date of notice



            Name of site                                   Governmental unit

            Number Street                                  Number Street


                                                           City                  State ZIP Code

            City                     State    ZIP Code

 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     121 No
     U Yes. Fill in the details.
                                                                                                                                                            Status of the
                                                                 Court or agency                            Nature of the case
                                                                                                                                                            case

           Case title
                                                                                                                                                            U Pending
                                                                 Court Name
                                                                                                                                                            U On appeal
                                                                 Number Street                                                                              U Concluded


           Case number                                           City                State ZIP Code


 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           U A member of a limited liability company (LLC) or limited liability partnership (LLP)
           U A partner in a partnership
           U An officer, director, or managing executive of a corporation
           U An owner of at least 5% of the voting or equity securities of a corporation

     21 No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                 Describe the nature of the business                       Employer Identification number
                                                                                                                           Do not include Social Security number or ITIN.
            Business Name

                                                                                                                           EIN:
            Number Street
                                                                 Name of accountant or bookkeeper                          Dates business existed


                                                                                                                        I From                 To
            City                     State    ZIP Code
                                                                 Describe the nature of the business                       Employer Identification number
                                                                                                                           Do not include Social Security number or 'TIN.
            Business Name

                                                                                                                           EIN:
            Number Street
                                                                 Name of accountant or bookkeeper                          Dates business existed


                                                                                                                           From                To
            City                     State    ZIP Code

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Debtor 1        Adrian                                                  Young                          Case number (,rknown)
                  First Name   Middle Name          Last Name



                                                                                                                      Employer Identification number
                                                            Describe the nature of the business
                                                                                                                      Do not include Social Security number or ITIN.
           Business Name
                                                                                                                       EIN:

           Number Street
                                                            Name of accountant or bookkeeper                          Dates business existed



                                                                                                                       From               To
           City                     State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

           No
     1:1 Yes. Fill in the details below.

                                                                Date issued




            Name                                                MM / DD YYYY


            Number Street




            City                    State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




       x
           Signature of Debtor 1                                               Signature of Debtor 2


           Date                                                                Date

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)7

      Qi No
      U     Yes



      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      Li No
      II   Yes. Name of person Jeffery Favors                                                                . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1              Adrian                                                    Young
                      First Name                  Middle Name                   Last Name

Debtor 2
(Spouse, if filing) First Name                    Middle Name                   Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
                                                                                                                                                  CI Check if this is an
                                                                                                                                                     amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

I Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2.
    lj     Yes. Where is the property?
                                                                          What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                          U Single-family home                              the amount of any secured claims on Schedule D:
      1.1                                                                                                                   Creditors Who Have Claims Secured by Properly.
                                                                          U Duplex or multi-unit building
               Street address, if available, or other description
                                                                          •    Condominium or cooperative                   Current value of the     Current value of the
                                                                          L:1 Manufactured or mobile home                   entire property?         portion you own?
                                                                          O    Land
                                                                          O    Investment property
                                                                          LI Timeshare                                      Describe the nature of your ownership
               City                            State      ZIP Code                                                          interest (such as fee simple, tenancy by
                                                                          CI Other                                          the entireties, or a life estate), if known.
                                                                          Who has an interest in the property? Check one.
                                                                              Debtor 1 only
               County                                                     0 Debtor 2 only
                                                                          0 Debtor 1 and Debtor 2 only                      LI Check if this is community property
                                                                                                                               (see instructions)
                                                                          0 At least one of the debtors and another
                                                                          Other information you wish to add about this item, such as local
                                                                          property identification number:
    If you own or have more than one, list here:
                                                                      What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put
                                                                      LI Single-family home                                 the amount of any secured claims on Schedule D:
         1.2                                                                                                                Creditors Who Have Claims Secured by Property.
                                                                      lj      Duplex or multi-unit building
               Street address, if available, or other description
                                                                      O Condominium or cooperative                          Current value of the     Current value of the
                                                                      O Manufactured or mobile home                         entire property?         portion you own?
                                                                      O       Land
                                                                      O       Investment property
                                                                                                                            Describe the nature of your ownership
                                                                      •       Timeshare
               City                            State      ZIP Code                                                          Interest (such as fee simple, tenancy by
                                                                      O       Other                                         the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                      0 Debtor 1 only
               County                                                 CI Debtor 2 only
                                                                      CI Debtor 1 and Debtor 2 only                             Check if this is community property
                                                                      CI At least one of the debtors and another                (see instructions)

                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:


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Debtor 1          Adrian                                                  Young                          Case number (if known)
                  First Name     Middle Name            Last Name




                                                                    What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                    O   Single-family home                                   the amount of any secured claims on Schedule D:
    1.3.                                                                                                                     Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description       0 Duplex or multi-unit building
                                                                                                                             Current value of the       Current value of the
                                                                    O Condominium or cooperative
                                                                                                                             entire property?           portion you own?
                                                                    O Manufactured or mobile home
                                                                    CI Land
                                                                    O Investment property
                                           State      ZIP Code                                                               Describe the nature of your ownership
           City                                                     O   Timeshare
                                                                                                                             interest (such as fee simple, tenancy by
                                                                    O   Other                                                the entireties, or a life estate), if known.

                                                                    Who has an interest in the property? Check one.

                                                                    CI Debtor 1 only
           County
                                                                    0 Debtor 2 only
                                                                    CI Debtor 1 and Debtor 2 only                            0 Check if this is community property
                                                                                                                                  (see instructions)
                                                                    0 At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:



2 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
  you have attached for Part 1. Write that number here.                                                                                         4




Part 2:     Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   O No
   O Yes


           Make:                                                     Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    3.1.
                                                                                                                             the amount of any secured claims on Schedule D:
           Model:                                                    0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     0 Debtor 2 only
           Year:                                                                                                             Current value of the       Current value of the
                                                                     0 Debtor 1 and Debtor 2 only                            entire property?           portion you own?
           Approximate mileage:                                      0 At least one of the debtors and another
           Other information:
                                                                     0 Check if this is community property (see
                                                                        instructions)



   If you own or have more than one, describe here:

           Make:                                                     Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    3.2.
                                                                                                                             the amount of any secured claims on Schedule D:
           Model:
                                                                     0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                     0 Debtor 2 only
           Year:                                                                                                             Current value of the       Current value of the
                                                                     0 Debtor 1 and Debtor 2 only                            entire property?           portion you own?
           Approximate mileage:                                      0 At least one of the debtors and another
           Other information:
                                                                     0 Check if this is community property (see
                                                                        instructions)




 Official Form 106A/B                                                Schedule AM: Property                                                                     page 2
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Debtor 1         Adrian                                                Young                          Case number (if known)
                 First Name       Middle Name        Last Name




             Make:                                               Who has an interest in the property? Check one           Do not deduct secured claims or exemptions. Put
      3.3.
                                                                                                                          the amount of any secured claims on Schedule D:
             Model:                                              0 Debtor 1 only                                          Creditors Who Have Claims Secured by Properly.
                                                                    Debtor 2 only
             Year:                                                                                                        Current value of the      Current value of the
                                                                 0 Debtor 1 and Debtor 2 only                             entire property?          portion you own?
             Approximate mileage:                                0 At least one of the debtors and another
             Other information:
                                                                  0 Check if this is community property (see
                                                                    instructions)


             Make:                                               Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
      3.4.
                                                                                                                          the amount of any secured claims on Schedule D:
             Model:
                                                                 0 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                                 0 Debtor 2 only
             Year:                                                                                                        Current value of the      Current value of the
                                                                 0 Debtor 1 and Debtor 2 only                             entire property?          portion you own?
             Approximate mileage:                                CI At least one of the debtors and another
             Other information:
                                                                  U Check if this is community property (see
                                                                    instructions)




4     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      IA No
      Ij Yes


             Make:                                               Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
      4.1
                                                                                                                          the amount of any secured claims on Schedule D:
             Model:                                              0 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                                 0 Debtor 2 only
             Year:
                                                                 0 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
             Other information:                                  0 At least one of the debtors and another                entire property?          portion you own?


                                                                  U Check if this is community property (see
                                                                    instructions)



      If you own or have more than one, list here:

             Make:                                               Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
      4.2
                                                                                                                          the amount of any secured claims on Schedule D:
             Model:                                              0 Debtor 1 only                                          Creditors Who Have Claims Secured by Properly.
                                                                 CI Debtor 2 only
             Year:                                                                                                        Current value of the      Current value of the
                                                                 0 Debtor 1 and Debtor 2 only                             entire property?          portion you own?
             Other information:                                  0 At least one of the debtors and another

                                                                  0 Check if this is community property (see
                                                                    instructions)




5     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here                                                                                   4




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Debtor 1         Adrian                                             Young                          Case number (rknoivn)
                 First Name     Middle Name         Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                portion you own?
                                                                                                                                 Do not deduct secured claims
                                                                                                                                 or exemptions.
6    Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
      O No
      Li Yes. Describe


7. Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                collections; electronic devices including cell phones, cameras, media players, games
      O No
      Li Yes. Describe          cell phone                                                                                                           50.00

8. Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      O No
      Li Yes. Describe


9. Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                and kayaks; carpentry tools; musical instruments
      O No
      Ll Yes. Describe

10.Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      O No
      Li Yes. Describe

11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      Li No
      O Yes. Describe                                                                                                                               100.00


12.Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                gold, silver
      O No
      LI Yes. Describe

13.Non-farm animals
      Examples: Dogs, cats, birds, horses

      O No
      Ll Yes. Describe


14. Any other personal and household items you did not already list, including any health aids you did not list

      O No
      Li Yes. Give specific
         information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                      150.00
    for Part 3. Write that number here                                                                                       4


    Official Form 106A/B                                         Schedule AM: Property                                                         page 4
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Debtor 1      Adrian                                               Young                      Case number (ifk.,...)
               First Name    Middle Name          Last Name




Part 4:     Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   O No
   LI Yes                                                                                                     Cash:



17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.
   Li No
   O Yes                                                       Institution name:


                             17.1. Checking account:

                             17.2. Checking account:

                             17.3. Savings account:

                             17.4. Savings account:

                             17.5. Certificates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   O No
   U Yes                     Institution or issuer name:




19 Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   0   No                     Name of entity:                                                                  % of ownership:
   U Yes. Give specific                                                                                        0%
     information about
                                                                                                               0%
     them
                                                                                                                0%




 Official Form 106A/B                                          Schedule AIB: Property                                                             page 5
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Debtor 1      Adrian                                                 Young                     Case number Of known)
              First Name     Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   O No
   U Yes. Give specific      Issuer name:
     information about
     them




21 Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   O No
   U Yes. List each
     account separately.     Type of account:          Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   •   No
   U Yes                                           Institution name or individual:
                             Electric:

                              Gas:

                             Heating oil:

                              Security deposit on rental unit:

                              Prepaid rent:

                              Telephone:

                              Water:

                              Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   O No
   U Yes                       Issuer name and description:




 Official Form 106A/B                                            Schedule AM: Property                                                  page 6
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Debtor 1      Adrian                                             Young                           Case number ( known)
              First Name    Middle Name          Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   O No
   LI Yes                            Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   O No
   U Yes. Give specific
     information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   0   No
   LI Yes. Give specific
      information about them....


27 Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   O No
   U Yes. Give specific
     information about them....


Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28 Tax refunds owed to you
   0   No
   U Yes Give specific information                                                                               Federal:
         about them, including whether
         you already filed the returns                                                                           State:
         and the tax years.
                                                                                                                 Local:



29.Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   0   No
   Li Yes. Give specific information
                                                                                                                Alimony:
                                                                                                                Maintenance:
                                                                                                                Support:
                                                                                                                Divorce settlement:
                                                                                                                Property settlement:

30.Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
             Social Security benefits; unpaid loans you made to someone else
   0   No
   U Yes. Give specific information




 Official Form 106A/B                                         Schedule AIB: Property                                                                page 7
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Debtor 1       Adrian                                                 Young                             Case number of known)
                First Name     Middle Name           Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   0   No
   U Yes. Name the insurance company            Company name:                                              Beneficiary:                             Surrender or refund value:
          of each policy and list its value....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   O No
   U Yes. Give specific information



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   O No
   U Yes. Describe each claim.


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   O No
   U Yes. Describe each claim.




35. Any financial assets you did not already list

   O No
   U Yes. Give specific information



36 Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here




Part 5:      Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

    O No. Go to Part 6.
   U Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38 Accounts receivable or commissions you already earned

    O No
    U Yes. Describe


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

    O No
    U Yes. Describe




 Official Form 106A/B                                             Schedule A/B: Property                                                                        page 8
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Debtor 1     Adrian                                            Young                     Case number (irimown)
              First Name    Middle Name        Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   O No
   LI Yes. Describe


41. Inventory
     O No
     O Yes. Describe


42. Interests in partnerships or joint ventures
   O No
   CI Yes. Describe        Name of entity:                                                                 % of ownership:




43. Customer lists, mailing lists, or other compilations
    O No
    O Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
            • No
            O Yes. Describe.



44. Any business-related property you did not already list
    O No
    O Yes. Give specific
       information




45 Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
   for Part 5. Write that number here                                                                                   4


Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   O No. Go to Part 7.
   O Yes. Go to line 47.
                                                                                                                             Current value of the
                                                                                                                             portion you own?
                                                                                                                             Do not deduct secured claims
                                                                                                                             or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   O No
   LI Yes




 Official Form 106A/B                                       Schedule NB: Property                                                         page 9
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  Debtor 1      Adrian                                             Young                        Case number (oknown)
                First Name    Middle Name        Last Name




 48. Crops—either growing or harvested

    U No
    U Yes. Give specific
      information.

 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     0   No
     U Yes



 50 Farm and fishing supplies, chemicals, and feed

     0   No
     U Yes

                                                                                                                                      $

 51 Any farm- and commercial fishing-related property you did not already list
     0   No
     U Yes. Give specific
       information


 52 Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                    0.00
    for Part 6. Write that number here




 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

     0   No
     U Yes. Give specific
       information




 54 Add the dollar value of all of your entries from Part 7. Write that number here                                         4
                                                                                                                                                0.00



 Part 8:       List the Totals of Each Part of this Form


 55.Part 1: Total real estate, line 2                                                                                           ->    $
                                                                                                                                               0.00

 56.Part 2: Total vehicles, line 5
                                                                                           0.00

 57.Part 3: Total personal and household items, line 15
                                                                                         150.00

 58.Part 4: Total financial assets, line 36
                                                                                           0.00

 59.Part 5: Total business-related property, line 45
                                                                                           0.00

 60.Part 6: Total farm- and fishing-related property, line 52
                                                                                           0.00

 61.Part 7: Total other property not listed, line 54                                       0.00

  62.Total personal property. Add lines 56 through 61.
                                                                                         150.00] Copy personal property total 4      + $      150.00


                                                                                                                                            1,500.00
I 63. Total of all property on Schedule A/8. Add line 55 + line 62.




   Official Form 106A/B                                        Schedule A/13: Property                                                      page 10
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 Fill in this informat on to identify your case:

 Debtor 1            Adrian                                             Young
                     First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if tiling) First Name             Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                            U Check if this is an
  (If known)
                                                                                                                                          amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          04122

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      IZ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      U You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule NB that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the      Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from       Check only one box for each exemption.
                                                          Schedule A/B

      Brief
      description:                Clothes                 $ 100.00                  Us 100.00
      Line from                                                                     IA 100% of fair market value, up to
      Schedule A/B:               11                                                   any applicable statutory limit


      Brief
      description:
                              Electronics                 $500.00                       $ 500.00
                                                                                    U 100% of fair market value, up to
      Line from
      Schedule NB:                                                                    any applicable statutory limit

      Brief
      description:
      Line from                                                                         100% of fair market value, up to
      Schedule A/B:                                                                     any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
     U Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           Li     No
           U      Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                            page 1 of 1
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Debtor 1       Adrian                                            Young                       Case number (if known)
             First Name     Middle Name        Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit

     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit


     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit

     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit

     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit


     Brief
     description:                                                             Us

     Line from                                                                   1000/0 of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit

     Brief
     description:                                                             Us

     Line from                                                                U 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit


     Brief
     description:                                                             Us
                                                                              U 100% of fair market value, up to
     Line from
     Schedule A/B:                                                              any applicable statutory limit


     Brief
     description:                                                             Us
                                                                              U 100% of fair market value, up to
     Line from
     Schedule A/B:                                                              any applicable statutory limit

     Brief
     description:                                                             Us
                                                                              U 100% of fair market value, up to
     Line from
     Schedule A/B:                                                              any applicable statutory limit


     Brief
     description:                                                             Us
                                                                              U 100% of fair market value, up to
      Line from
                                                                                any applicable statutory limit
      Schedule NB:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                     page 2    of 1
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Fill in this information to identify your case:

Debtor 1            Adrian                                                  Young
                   First Name                 Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (If known)                                                                                                                             CI Check if this is an
                                                                                                                                           amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
   IA No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   U Yes. Fill in all of the information below.
               List All Secured Claims
                                                                                                         Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the       that supports this      ortion
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral,   claim                 Iff any

                                                        Describe the property that secures the claim:
    Creditor's Name


    Number            Street

                                                        As of the date you file, the claim is: Check all that apply.
                                                        O Contingent
                                                        • Unliquidated
    City                         State   ZIP Code       O Disputed
  Who owes the debt? Check one.                         Nature of lien. Check all that apply.
  LI Debtor 1 only                                      O An agreement you made (such as mortgage or secured
  O Debtor 2 only                                         car loan)
  O Debtor 1 and Debtor 2 only                          1:1
                                                          Statutory lien (such as tax lien, mechanic's lien)
  O At least one of the debtors and another             O Judgment lien from a lawsuit
                                                        O Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred                                Last 4 digits of account number
2.2                                                     Describe the property that secures the claim:
    Creditor's Name


    Number            Street

                                                        As of the date you file, the claim is: Check all that apply.
                                                        O Contingent
                                                        O Unliquidated
    City                         State   ZIP Code
                                                        O Disputed
  Who owes the debt? Check one.                         Nature of lien. Check all that apply.
  O    Debtor 1 only                                    O An agreement you made (such as mortgage or secured
  O    Debtor 2 only                                      car loan)
  O    Debtor 1 and Debtor 2 only                       O Statutory lien (such as tax lien, mechanic's lien)
  O    At least one of the debtors and another          O Judgment lien from a lawsuit
                                                        O Other (including a right to offset)
  El Check if this claim relates to a
     community debt
  Date debt was incurred                                Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:


 Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                    page 1 of 1
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  Fill in this information to identify your case:

  Debtor 1            ADRIAN                                     YOUNG
                       First Name                 Middle Name             Last Name

  Debtor 2
  (Spouse, if Ming) First Name                    Middle Name             Last Name


  United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                                LI Check if this is an
  Case number
      (If known)                                                                                                                                   amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

                   List All of Your PRIORITY Unsecured Claims

        Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
        LI Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                 Total claim   Priority    Nonpriority
                                                                                                                                               amount      amount
2.1
                                                                  Last 4 digits of account number
          Priority Creditors Name

                                                                  When was the debt incurred?
          Number          Street

                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  O Contingent
          City                           State     ZIP Code
                                                                  • Unliquidated
          Who incurred the debt? Check one.
                                                                  O Disputed
          O Debtor 1 only
          CI Debtor 2 only                                        Type of PRIORITY unsecured claim:
          CI Debtor 1 and Debtor 2 only                           •   Domestic support obligations
          0 At least one of the debtors and anotl ler             O Taxes and certain other debts you owe the government
          Cl Check if this claim is for a community debt          CI Claims for death or personal injury while you were
          Is the claim subject to offset?                             intoxicated
          LI No                                                   O Other. Specify
          O Yes
2.2                                                               Last 4 digits of account number
          Priority Creditor's Name
                                                                  When was the debt incurred?
          Number          Street
                                                                  As of the date you file, the claim is: Check all that apply
                                                                  O Contingent
          City                           State     ZIP Code       • Unliquidated
          Who incurred the debt? Check one.                       O Disputed
          O Debtor 1 only
                                                                  Type of PRIORITY unsecured claim:
          LI Debtor 2 only                                        O Domestic support obligations
          O Debtor 1 and Debtor 2 only
                                                                  O Taxes and certain other debts you owe the government
          0 At least one of the debtors and another
                                                                  O Claims for death or personal injury while you were
          O Check if this claim is for a community debt              intoxicated
          Is the claim subject to offset?                         CI Other. Specify
          O No
          O Yes


 Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page 1 0f 18
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Debtor 1         ADRIAN                            YOUNG                                                Case number (,rknown)
                First Name      Middle Name         Last Name


               Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                         Total claim   Priority   Nonpriority
                                                                                                                                              amount     amount


                                                                 Last 4 digits of account number
     Priority Creditors Name

                                                                 When was the debt incurred?
     Number          Street

                                                                 As of the date you file, the claim is: Check all that apply.

                                                                 Li Contingent
     City                             State    ZIP Code          LI Unliquidated
                                                                 Li Disputed
      Who incurred the debt? Check one.
      LI Debtor 1 only                                           Type of PRIORITY unsecured claim:
      CI Debtor 2 only
                                                                 LI Domestic support obligations
      LI Debtor 1 and Debtor 2 only
                                                                 LI Taxes and certain other debts you owe the government
      LI At least one of the debtors and another
                                                                 O Claims for death or personal injury while you were
                                                                   intoxicated
      1:1 Check if this claim is for a community debt
                                                                 O Other. Specify
      Is the claim subject to offset?
      LI No
      LI Yes


                                                                 Last 4 digits of account number
      Pnonty Creditors Name

                                                                 When was the debt incurred?
      Number          Street

                                                                 As of the date you file, the claim is: Check all that apply.

                                                                 LI Contingent
      City                             State   ZIP Code          LI   Unliquidated
                                                                 O Disputed
      Who incurred the debt? Check one.
      Li Debtor 1 only                                           Type of PRIORITY unsecured claim:
      LI Debtor 2 only                                           0    Domestic support obligations
      LI Debtor 1 and Debtor 2 only
                                                                 0  Taxes and certain other debts you owe the government
      0 At least one of the debtors and another
                                                                 LI Claims for death or personal injury while you were
                                                                    intoxicated
      LI Check if this claim is for a community debt
                                                                 O Other. Specify
      Is the claim subject to offset?
      LI No
      O Yes


                                                                 Last 4 digits of account number
      Priority Creditors Name

                                                                 When was the debt incurred?
      Number          Street

                                                                 As of the date you file, the claim is: Check all that apply.

                                                                 LI Contingent
      City                             State   ZIP Code          0    Unliquidated
                                                                 O Disputed
      Who incurred the debt? Check one.
      O Debtor 1 only                                            Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                 O Domestic support obligations
      LI Debtor 1 and Debtor 2 only
                                                                 LI Taxes and certain other debts you owe the government
      LI At least one of the debtors and another
                                                                 LI Claims for death or personal injury while you were
                                                                    intoxicated
      O Check if this claim is for a community debt
                                                                 LI Other. Specify

      Is the claim subject to offset?
      LI No
      LI Yes


Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2 of 18
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 Debtor 1             ADRIAN                            YOUNG                                            Case number prk.wo
                     First Name       Middle Name       Last Name

                    List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      LI No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      41 Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.11you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1    Letetia Moody                                                                                                                 4     9
                                                                                    Last 4 digits of account number       7     8
       Nonpriority Creditors Name
                                                                                                                                                                  3,000.00
                                                                                    When was the debt incurred?           08/04/06
       1850 Cotillion Dr Apt 2419
       Number             Street
       Dunwoody                                       GA             30338
       City                                           State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                    U   Contingent
       Who incurred the debt? Check one.                                            LI Unliquidated
       O Debtor 1 only                                                              14 Disputed
       LI Debtor 2 only
       LI Debtor 1 and Debtor 2 only                                                Type of NONPRIORITY unsecured claim:
       CI At least one of the debtors and another                                   O   Student loans

       1:1 Check if this claim is for a community debt                              1:1 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
       Is the claim subject to offset?                                              O   Debts to pension or profit-sharing plans, and other similar debts
       WI No                                                                            Other. Specify
       LI Yes

                                                                                    Last 4 digits of account number 3 6 0                   0                      1,200.00
       Cottonwood Capital
       Nonpnonty Creditor s Name                                                    When was the debt incurred?     06/18/11
       4140 Clairmont Rd
       Number              Street
       Atlanta                                        GA              30341         As of the date you file, the claim is: Check all that apply.
       City                                           State         ZIP Code
                                                                                    U   Contingent
       Who incurred the debt? Check one.                                                Unliquidated
                                                                                    O   Disputed
        O Debtor 1 only
        0 Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
        LI Debtor 1 and Debtor 2 only
       1:1 At least one of the debtors and another                                  U   Student loans
                                                                                    U  Obligations arising out of a separation agreement or divorce
        0 Check if this claim is for a community debt                                  that you did not report as priority claims
       Is the claim subject to offset?                                              LI Debts to pension or profit-sharing plans, and other similar debts

        •      No
                                                                                    11 Other. Specify     Valencia Park Apartments
        1:1 Yes

4.3
        State Farms c/o Ronald W Parnell                                            Last 4 digits of account number         3 2 0 _2
        Nonpriority Creditor's Name
                                                                                    When was the debt incurred?            10/21/13
        PO Box 81085
        Number             Street
        Conyers                                        GA             30013
                                                                                    As of the date you file, the claim is: Check all that apply.
        City                                          State          ZIP Code
                                                                                    ID Contingent
        Who incurred the debt? Check one.
                                                                                    6if Unliquidated
        14 Debtor 1 only
                                                                                    O   Disputed
        1:1 Debtor 2 only
        1:1 Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
        (=I At least one of the debtors and another
                                                                                    O   Student loans
        0 Check if this claim is for a community debt                               LI Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
        Is the claim subject to offset?
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
               No
                                                                                    14( Other. Specify    Judgment
        LI Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page3 of 18
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Debtor 1          ADRIAN                           YOUNG                                            Case number (if known)
                  First Name     Middle Name           Last Name


                 List Others to Be Notified About a Debt That You Already Listed

 6.   Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
      example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
      2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
      additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

        Department of Driver Services                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

        P.O. Box 80447                                                        Line 4.3   of (Check one): 0      Part 1: Creditors with Priority Unsecured Claims
        Number         Street                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                                              Last 4 digits of account number      3     2   0   2
        Conyers                                GA             30013
        City                                   State               ZIP Code
                       _

                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                              Line       of (Check one): U Part 1: Creditors with Priority Unsecured Claims
        Number          Street
                                                                                                            U Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number
        City                                   State               ZIP Code


                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                              Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
        Number          Street                                                                              •   Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number
        City                                   State               ZIP Code

                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                              Line        of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
        Number          Street                                                                              U Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number —         —    —
        City                                   State               ZIP Code


                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                              Line        of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
        Number          Street                                                                              U Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number
        City                                   State               ZIP Code

                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                              Line        of (Check one): 0      Part 1: Creditors with Priority Unsecured Claims
        Number          Street                                                                              •    Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims

                                                                              Last 4 digits of account number —         —    —   —
        City                                   State               ZIP Code


                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                              Line        of (Check one): 0      Part 1: Creditors with Priority Unsecured Claims
        Number          Street
                                                                                                            U Part 2: Creditors with Nonpriority Unsecured
                                                                              Claims


        City                                   State               ZIP Code
                                                                              Last 4 digits of account number



Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page17 of 18
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Debtor 1       ADRIAN                            YOUNG                                          Case number (if known)
               First Name     Middle Name         Last Name




In          Add the Amounts for Each Type of Unsecured Claim



6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                          Total claim



Total claims
                 6a. Domestic support obligations                                 6a.                              0.00
from Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                                   6b.                               0.00
                 6c. Claims for death or personal injury while you were
                     intoxicated                                                  6c.                               0.00
                 6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                                      6d. +$                            0.00


                 Be. Total. Add lines 6a through 6d.                              Be.
                                                                                                                    0.00


                                                                                          Total claim


                 6f. Student loans                                                6f.                               0.00
Total claims
from Part 2
                 6g. Obligations arising out of a separation agreement
                     or divorce that you did not report as priority
                     claims                                                       6g.      $                        0.00

                 6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                                6h.                               0.00


                 61. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                      6i.   -1- $                9,500.00


                 6j. Total. Add lines 6f through 6i.                              6j.
                                                                                                             9,500.00




                                                       sch%coleau,s5erpegityviv,„pniiip?m,ipmg,,Ared Claims                            page 18 of 18
Official Form 106E/F
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 Fill in this in ormation to identify your case:

 Debtor               ADRIAN                                  YOUNG
                      First Name            Middle Name                 Last Name

 Debtor 2
 (Spouse If filing)   First Name            Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (If known)                                                                                                                            CI Check if this is an
                                                                                                                                           amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       LI Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



       Person or company with whom you have the contract or lease                             State what the contract or lease is for


2.1
       Name


       Number            Street


       City                            State       ZIP Code

2.2
       Name


       Number            Street


       City                            State       ZIP Code

 .31

       Name


       Number            Street


       Cit                             State       ZIP Code

2.4
       Name


       Number            Street


       City                             State      ZIP Code —   _

2.5
       Name


       Number            Street


       City                             State      ZIP Code



Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of "I
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 Fill in this information to identify your case:

 Debtor 1           ADRIAN                                                 YOUNG
                     First Name                      Middle Name                   Last Nerve

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                   Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (If known)
                                                                                                                                                       Ll Check if this is an
                                                                                                                                                          amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      WI No
      U Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      if No. Go to line 3.
      O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           Li No
           U Yes. In which community state or territory did you live?                                        . Fill in the name and current address of that person.


                  Name of your spouse, former spouse, or legal equivalent



                  Number            Street



                  City                                             State                        ZIP Code


 3    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
       shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
       Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                       Column 2: The creditor to whom you owe the debt

                                                                                                                     Check all schedules that apply:
3.1
                                                                                                                      LI Schedule D, line
         Name
                                                                                                                      O Schedule BE, line
         Number            Street                                                                                     O Schedule G, line




                                                                                                                      O Schedule D, line
         Name
                                                                                                                      CI Schedule EJF, line
         Number            Street                                                                                     O Schedule G, line

         City                                                         State                       ZIP Code


                                                                                                                      CI Schedule D, line
         Name
                                                                                                                      •   Schedule E/F, line
         Number            Street                                                                                     0 Schedule G, line

         City                                                          State                      ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                   page 1 of 1
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 Fill in this information to identify your case:


 Debtor 1            Adrian                                             Young
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse. 1 filing) First Name             Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                               Check if this is:
 (If known)
                                                                                                           0     An amended filing
                                                                                                           0 A supplement showing postpetition chapter 13
                                                                                                                 income as of the following date:
Official Form 1061                                                                                               MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                  12115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Employment


1. Fill in your employment
   information.                                                               Debtor 1                                      Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                 0 Employed                                       0 Employed
    employers.                                                                    Not employed                              0 Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name


                                         Employer's address
                                                                           Number Street                                  Number     Street




                                                                           City              State    ZIP Code            City                  State ZIP Code

                                         How long employed there?



 Part 2:          Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1         For Debtor 2 or
                                                                                                                           non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.                  2.


 3. Estimate and list monthly overtime pay.


 4. Calculate gross income. Add line 2 + line 3.                                                 4.




Official Form 1061                                                 Schedule I: Your Income                                                            page 1
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Debtor 1        Adrian                                          Young                       Case number (,rknown)
               First Name     Middle Name       Last Name




                                                                                           For Debtor 1             For Debtor 2 or
                                                                                                                    non-filing spouse

   Copy line 4 here                                                                 4.     $

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                              5a.    $
     5b. Mandatory contributions for retirement plans                               5b.    $
     5c. Voluntary contributions for retirement plans                               5c.    $
     5d. Required repayments of retirement fund loans                               5d.    $
     5e. Insurance                                                                  5e.    $
     5f. Domestic support obligations                                               5f.    $

     5g. Union dues                                                                 5g.
     5h. Other deductions. Specify:                                                 5h. +$                          + $

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.     6.     $


 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.             7.     $


 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.                                                      8a.
     8b. Interest and dividends                                                     8b.    $
     Be. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                     8c.
     8d. Unemployment compensation                                                  8d.
     8e. Social Security                                                            Be.

     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: girlfriend                                                       8f.     $

     8g. Pension or retirement income                                               8g.    $

     8h. Other monthly income. Specify:                                             8h. +$                          +$

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.           9.

10. Calculate monthly income. Add line 7 + line 9.                                                    0.00                                             0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.       10.

11. State all other regular contributions to the expenses that you list in Schedule J
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: girlfriend                                                                                                             11. +          200.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                    12.
                                                                                                                                                   200.00
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies
                                                                                                                                            Combined
                                                                                                                                            monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      Li No.
           Yes. Explain:    hope to get new job


Official Form 1061                                              Schedule I: Your Income                                                       page 2
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      Fill in this information to identify your case:

      Debtor 1           Adrian                                              Young
                         First Name               Middle Name                Last Name                      Check if this is:
      Debtor 2                                                                                              CI An amended filing
      (Spouse, if filing) First Name              Middle Name                Last Name
                                                                                                            0   A supplement showing postpetition chapter 13
      United States Bankruptcy Court for the: Northern District of Georgia                                      expenses as of the following date:
      Case number                                                                                               MM / DD/ YYYY
      (If known)


 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                    12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:               Describe Your Household

1. Is this a joint case?

       if No. Go to line 2..
       CI Yes. Does Debtor 2 live in a separate household?

                   LI No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                   CI No
                                                                                         Dependent's relationship to              Dependent's      Does dependent live
       Do not list Debtor 1 and               g     Yes. Fill out this information for   Debtor 1 or Debtor 2                     age              with you?
       Debtor 2.                                    each dependent
                                                                                                                                                   1:1 No
       Do not state the dependents'                                                      son                                      2
       names.                                                                                                                                      RI Yes

                                                                                                                                                   CI No
                                                                                         daughter                                 16
                                                                                                                                                      Yes

                                                                                                                                                   CI No
                                                                                         daughter                                 11
                                                                                                                                                   id Yes
                                                                                                                                                   LI No
                                                                                         daughter                                 9
                                                                                                                                                      Yes

                                                                                         son                                      16             I CI No
                                                                                                                                                       Yes

 3.   Do your expenses include
                                              RI No
      expenses of people other than
      yourself and your dependents?           ID Yes


 Part 2:            Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule!: Your Income (Official Form 1061.)                                                  Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                         0.00
     any rent for the ground or lot.                                                                                        4.

         If not included in line 4:
         4a. Real estate taxes                                                                                              4a.        $

         4b. Property, homeowner's, or renter's insurance                                                                   4b.        $

         4c. Home maintenance, repair, and upkeep expenses                                                                  4c.        $

         4d. Homeowner's association or condominium dues                                                                    4d.        $


Official Form 106J                                                 Schedule J: Your Expenses                                                               page 1
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Debtor 1         Adrian                                             Young                  Case number (if known)
                 First Name     Middle Name       Last Name




                                                                                                                           Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                      5.

 6. Utilities:
     6a.    Electricity, heat, natural gas                                                                          6a.    $

     613.   Water, sewer, garbage collection                                                                        6b.    $

     Sc.    Telephone, cell phone, Internet, satellite, and cable services                                          6c.    $

     sd.    Other. Specify:                                                                                         6d.    $

 7. Food and housekeeping supplies                                                                                  7.                     100.00

 8. Childcare and children's education costs                                                                        8.                       0.00
 0. Clothing, laundry, and dry cleaning                                                                             9.                       0.00
10. Personal care products and services                                                                             10.    $                 0.00
11. Medical and dental expenses                                                                                     11.    $                 0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                            30.00
    Do not include car payments.                                                                                    12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                              13.    $                 0.00
14. Charitable contributions and religious donations                                                                14.    $                 0.00

15   Insurance.
     Do not include insurance deducted from your pay or included in lines 4 01 20.

     15a. Life insurance                                                                                            15a.                     0.00
     15b. Health insurance                                                                                          15b.                     0.00
     15c. Vehicle insurance                                                                                         15c.                     0.00
     15d. Other insurance. Specify:                                                                                 15d.


16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
     Specify:                                                                                                       16.

17. Installment or lease payments:

     17a. Car payments for Vehicle 1                                                                                17a    $                 0.00

     17b. Car payments for Vehicle 2                                                                                17b.

     17c. Other. Specify:                                                                                           17c.

     17d. Other. Specify:                                                                                           17d.

18   Your payments of alimony, maintenance, and support that you did not report as deducted from
     your pay on line 5, Schedule!, Your Income (Official Form 1061).                                                18.   $

19. Other payments you make to support others who do not live with you.
     Specify:                                                                                                        19.   $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule!: Your Income.

     20a. Mortgages on other property                                                                               20a.   $

     20b. Real estate taxes                                                                                         20b.   $

     20c. Property, homeowner's, or renter's insurance                                                              20c.   $

     20d. Maintenance, repair, and upkeep expenses                                                                  20d.   $

     20e. Homeowner's association or condominium dues                                                               20e.   $



Official Form 106J                                             Schedule J: Your Expenses                                                     page 2
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 Debtor 1        Adrian                                           Young                         Case number (fmown)
                 First Name    Middle Name        Last Name




21. Other. Specify:                                                                                                   21.   +$


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                               22a.                  130.00

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                    0.00
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.                  130.00



23. Calculate your monthly net income.
                                                                                                                                        200.00
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.       $          130.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                         70.00
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      121 No.
      LI Yes.      Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                                   page 3
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Fill in this information to identify your case:

Debtor 1             Adrian                                            Young
                   First Name                 Middre Name              Last Name

Debtor 2
(Spouse, if filing) First Name                Middle Name              Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number                                                                                                                                  Check if this is an
 (If known)                                                                                                                                  amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  •   creditors have claims secured by your property, or
  •   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Properly (Official Form 1060), fill in the
       information below.

           Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                                   secures a debt?                                   as exempt on Schedule C?

          Creditor's                                                               U Surrender the property.                         U No
          name:
                                                                                   U Retain the property and redeem it.              U Yes
         Description of
                                                                                   U Retain the property and enter into a
         property
         securing debt:                                                              Reaffirmation Agreement.
                                                                                   U Retain the property and [explain]:



         Creditor's                                                                U Surrender the property.                         U No
         name:
                                                                                   U Retain the property and redeem it.              U Yes
         Description of
                                                                                   U Retain the property and enter into a
         property
         securing debt:                                                              Reaffirmation Agreement.
                                                                                   U Retain the property and [explain]:



         Creditor's                                                                   Surrender the property.                        Li No
         name:
                "                                                                  U Retain the property and redeem it.              U Yes
         Description of
         property
                                                                                   0 Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:

          Creditor's                                                                  Surrender the property.                        Li No
          name:
                                                                                   LI Retain the property and redeem it.             U Yes
          Description of
                                                                                   U Retain the property and enter into a
          property
                                                                                     Reaffirmation Agreement.
          securing debt:
                                                                                   LI Retain the property and [explain]:

                                 - MY,^~-y-wy• , ",,,-
  Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                 page 1
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Debtor 1            Adrian                                      Young                      Case number (If known)
                 First Name    Middle Name     Last Name




EMI              List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                             Will the lease be assumed?

      Lessor's name:                                                                                                Li No
                                                                                                                    D Yes
      Description of leased
      property:


      Lessor's name:                                                                                                Li No
                                                                                                                    Li Yes
      Description of leased
      property:


      Lessor's name:                                                                                                U No

      Description of leased                                                                                         Li Yes
      property:


      Lessor's name:                                                                                                CI No
                                                                                                                    0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                LI No
                                                                                                                    0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                Li No
                                                                                                                    Li Yes
      Description of leased
      property:


       Lessor's name:                                                                                               CI No
                                                                                                                    0 Yes
       Description of leased
       property:




  Part 3:         Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



   x
      Signature of Debtor 1                                     Signature of Debtor 2

      Date 9 1                                                  Date
            4                                                          MM/   DD/   YYYY




Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                           page 2
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 Fill in this information to identify your case:

 Debtor 1           Alisande                                        Hall
                     First Name            Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                        1:1 Check if this is an
                     (If known)                                                                                                         amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                 Your assets
                                                                                                                                 Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
   la. Copy line 55, Total real estate, from Schedule A/B
                                                                                                                                                     0.00


     lb. Copy line 62, Total personal property, from Schedule NB                                                                                150.00

     lc. Copy line 63, Total of all property on Schedule A/B                                                                                    150.00


Part 2:        Summarize Your Liabilities


                                                                                                                                  Your liabilities
                                                                                                                                  Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                     0.00
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                     0.00
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

     3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                        9,500.00
                                                                                                                                 + $


                                                                                                        Your total liabilities               9,500.00


Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                200.00
   Copy your combined monthly income from line 12 of Schedule I

5.   Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                130.00
     Copy your monthly expenses from line 22c of Schedule J




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                     page 1 of 2
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   Debtor 1        Alisande                                          Hall                        Case number (if known)
                    First Name     Middle Name       Last Name




                 Answer These Questions for Administrative and Statistical Records

 FZI
   6. Are you filing for bankruptcy under Chapters 7,11, or 13?

       LI No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       Ei Yes

   7. What kind of debt do you have?

       10 Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
          family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

              Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                         0.00




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                          Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)
                                                                                                                           0.00


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                           0.00


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                           0.00


       9d. Student loans. (Copy line 6f.)
                                                                                                                           0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as                         0.00
           priority claims. (Copy line 6g.)


       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                                                 0.00




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                     page 2 of 2
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Fill in this information to identify your case:

Debtor 1            Adrian                                             Young
                   First Name             Middle Name                  Last Name

Debtor 2
(Spouse, if filing) First Name            Middle Name                  Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number
 (If known)

                                                                                                                                                     lj   Check if this is an
                                                                                                                                                          amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        CI No
              Yes. Name of person Jeffery Favors                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         Signature of Debtor 1                                             Signature of Debtor 2


         Date e;\ a.•v3
              Asir DD /
                                 4:45
                                 YY
                                                                           Date
                                                                                   MM/ DD /   YYYY




   Official Form 106Dec                                    Declaration About an Individual Debtor's Schedules
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B2800 (Form 2800)(12/15)



                                  United States Bankruptcy Court
                               Northern                  District Of    Georgia

 In e        Adrian Young                                                            Case No.
                     Debtor
                                                                                     Chapter        7

                DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
      [Must be filed with the petition if a bankruptcy petition preparer prepares the petition. II U.S.C. § 110(h)(2).]

 I.         Under 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an
            attorney, that I prepared or caused to be prepared one or more documents for filing by the above-named
            debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before
            the filing of the bankruptcy petition, or agreed to be paid to me, for services rendered on behalf of the
            debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 For document preparation services I have agreed to accept                           $      100

 Prior to the filing of this statement I have received                               $       1 00

 Balance Due                                                                         $         0

 2.         I have prepared or caused to be prepared the following documents (itemize): see Form B119

 and provided the following services (itemize):

 3.         The source of the compensation paid to me was:
               Debtor                             Other (specify)

 4.         The source of compensation to be paid to me is:
               Debtor                             Other (specify)

 5.         The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation
            of the petition filed by the debtor(s) in this bankruptcy case.

 6.         To my knowledge no other person has prepared for compensation a document for filing in connection with
            this bankruptcy case except as listed below:

 NAME                                            SOCIAL SECURITY NUMBER



                                                   XXX-XX-XXXX
                                                 Social Security number of bankruptcy
                                                 petition ,preparer*
  Je ery         vors                          2'133 L vale Suwanee Road, Ste 12, Suwanee, GA 30024
 Printed name and title, if any, of              Address
 Bankruptcy Petition Preparer


 * If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal,
 responsible person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

 A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of
 Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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  Fill in this information to identify the case:

 Debtor 1          Adrian                                                   Young
                    First Name                   Middle Name               Last Name

 Debtor 2
 (Spouse, if filing) First Name                  Middle Name               Last Name


 United States Bankruptcy Court for the: Northern District of Georgia



 Case number                                                               Chapter     7
  (If known)




Official Form 119
Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                                                                      12/15

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the
case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 3. A bankruptcy petition preparer who
does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




 Part 1:         Notice to Debtor



 Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
 filing or accept any compensation. A signed copy of this form must be filed with any document prepared.

        Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:

       EV      whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

       O whether filing a case under chapter 7, 11, 12, or 13 is appropriate;

       O whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

       NI      whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;

       O what tax consequences may arise because a case is filed under the Bankruptcy Code;

       •       whether any tax claims may be discharged;

       O whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;

       51      how to characterize the nature of your interests in property or your debts; or

       8       what procedures and rights apply in a bankruptcy case.



           The bankruptcy petition preparer Jeffery Favors                                                                        has notified me of
                                                     Name
           any maximum allowable fee before preparing any document for filing or accepting any fee.




            Signature of Debtor 1 acknowled                    is notice
                                                                                                           Date
                                                                                                                  ..,DD
                                                                                                                   ti   %),15
                                                                                                                         / YYYY




                                                                                                           Date
            Signature of Debtor 2 acknowledging receipt of this notice                                            MM 100 / YYYY




Official Form 119                                   Bankruptcy Petition Preparer's Notice, Declaration, and Signature                            page 1
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Debtor 1        Adrian                                                             Young                            Case number If known)
                  First Name            Middle Name            Last Name




 Part 2:         Declaration and Signature of the Bankruptcy Petition Preparer


 Under penalty of perjury, I declare that:

 KA I am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

 13 I or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
      Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and

 NI   if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
      preparers may charge, I or my firm notified the debtor of the maximum amount before preparing any document for filing or before
      accepting any fee from the debtor.

      Jeffery Favors
      Printed name                                           Title, if any                       Firm name, if it applies

      2133 Lawrenceville Suwanee Rd
      Number                   Street

      Suwanee                                             GA           30024                     404-453-3487
      City                                                   State            ZIP Code           Contact phone


      I or my firm prepared the documents checked below and the completed declaration is made a part of each document that I check:
      (Check all that apply)

      Li( Voluntary Petition (Form 101)                                         Schedule I (Form 1061)                                Chapter 11 Statement of Your Current Monthly
                                                                                                                                      Income (Form 122B)
             Statement About Your Social Security Numbers                       Schedule J (Form 106J)
             (Form 121)                                                                                                               Chapter 13 Statement of Your Current Monthly
                                                                                Declaration About an Individual Debtor's              Income and Calculation of Commitment Period
             Summary of Your Assets and Liabilities and                         Schedules (Form 106Dec)                               (Form 122C-1)
             Certain Statistical Information (Form 106Sum)
                                                                                Statement of Financial Affairs (Form 107)             Chapter 13 Calculation of Your Disposable
             Schedule NB (Form 106A/B)                                                                                                Income (Form 122C-2)
                                                                                Statement of Intention for Individuals Filing
             Schedule C (Form 106C)                                             Under Chapter 7 (Form 108)                       1:1 Application to Pay Filing Fee in Installments
                                                                                                                                     (Form 103A)
             Schedule D (Form 106D)                                             Chapter 7 Statement of Your Current
                                                                                Monthly Income (Form 122A-1)                           Application to Have Chapter 7 Filing Fee
             Schedule E/F (Form 106E/F)
                                                                                                                                       Waived (Form 103B)
                                                                                Statement of Exemption from Presumption
             Schedule G (Form 106G)                                             of Abuse Under § 707(b)(2)                             A list of names and addresses of all creditors
                                                                                (Form 122A-1Supp)                                      (creditor or mailing matrix)
             Schedule H (Form 106H)
                                                                                Chapter 7 Means Test Calculation                       Other Paystubbs
                                                                                (Form 122A-2)


      Bankruptcy petition preparers must sign and give their Social Security numbers. If more than one bankruptcy petition preparer prepared the documents
      to which this declaration applies, the signature and Social Security number of each preparer must be provided. 11 U.S.C. § 110.




                                                                                                       17 6 - 5 4 - 7 8 8 6                            Date0
      Signa                                    preparer or officer, principal, responsible          Social Security number of person who signed
      pers


      Jeffery Favors
      Printed name


                                                                                                                                                       Date
      Signature of bankruptcy petition preparer or officer, principal, responsible                  Social Security number of person who signed               MM / DD/YYVY
      person, or partner



      Printed name




Official Form 119                                                Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                           page 2
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 Fill in this information to identify your case:                                                             Check one box only as directed in this form and in
                                                                                                             Form 122A-1Supp:
 Debtor 1          Adrian                                               Young
                     First Name               Middle Name               Last Name
                                                                                                                 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name               Middle Name               Last Nurse                           Li 2. The calculation to determine if a presumption of
                                                                                                                   abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia                                              Means Test Calculation (Official Form 122A-2).
 Case number                                                                                                 Li 3. The Means Test does not apply now because of
 (If known)
                                                                                                                   qualified military service but it could apply later.



                                                                                                             CI Check if this is an amended filing



Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(6)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1 What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
        CI Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        CI Married and your spouse is NOT filing with you. You and your spouse are:

              Li     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              CI     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                 Column A           Column B
                                                                                                                 Debtor 1           Debtor 2 or
                                                                                                                                    non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                           $        0.00        $

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.
                                                                                                                          0.00

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.
   5. Net income from operating a business, profession,
                                                                        Debtor 1             Debtor 2
      or farm
      Gross receipts (before all deductions)
        Ordinary and necessary operating expenses                    - $                    -$
                                                                                                        Copy
        Net monthly income from a business, profession, or farm           $          0.00     $         here-,   $        0.00        $

   6. Net income from rental and other real property                    Debtor 1             Debtor 2
      Gross receipts (before all deductions)                             $                    $
        Ordinary and necessary operating expenses                    - $                    - $
                                                                                                        copy
        Net monthly income from rental or other real property             $      0.00         $         here-)   $          0.00      $
   7. Interest, dividends, and royalties                                                                         $        0.00        $



Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                          page 1
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Debtor 1         Adrian                                            Youngs!                      Case number (if /mown)
                First Name    Middle Name         Last Name



                                                                                                    Column A                 Column B
                                                                                                    Debtor 1                 Debtor 2 or
                                                                                                                             non-filing spouse

   8. Unemployment compensation                                                                                  0.00
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:
            For you
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                               0.00
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
                                                                                                                 0.00
                                                                                                                 0.00
           Total amounts from separate pages, if any.                                               +$           0.00        +s

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                        0.00                                               0.00
                                                                                                                                                         Total current
                                                                                                                                                         monthly income

   Part 2:       Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                          Copy line 11 here4          $          —  COT]
                Multiply by 12 (the number of months in a year).                                                                                     x 12
       12b. The result is your annual income for this part of the form.                                                                 12b.     [   $             0.00 I

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                         GA

       Fill in the number of people in your household.              5
       Fill in the median family income for your state and size of household.                                                           13.          $ 113538.1ii
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


       14a.        Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.



       14b. U      Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                          page 2
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Debtor 1     Adrian                                                Young!!                      Case number (if known)
             First Name      Middle Name         Last Name




 =I            Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.




                   Signature of Debtor 1                                                       Signature of Debtor 2

                  Date                                                                         Date
                                                                                                      MM/ DD      / YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.

                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                page 3
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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


In the Matter of:                                           )         CASE NO.:
                                                            )
     Adrian Young                                           )
                                                            )           Chapter      7
                                                            )
                                                            )
                                              Debtor(s).    )

                              VERIFICATION OF CREDITOR MATRIX

        The above named debtor(s) hereby verify under penalty of perjury that the attached matrix listing of creditors

is true, correct and accurate to the best of the knowledge and belief of the debtor(s).


       Dated:                  aca    n,
                                                                Adrian Young, Signature f De



                                                                , (Signature of Joint Debtor, if any)
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 Letetia Moody
 1850 Cotillion Dr.
 Apt 2419
 Dunwoody, GA 30338

 Cottonwood Capital
 4140 Clairmont Rd
 Atlanta, GA 30341

 State Farms do Ronald W Parnell
 PO Box 81085
 Conyers, GA 30013

 Department of Driver Services
 P.O. Box 80447
 Conyers, GA 30013
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Case Number: 23-57018                           Name:           Young                    Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.


IS Individual - Series 100 Forms                                                        El Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 CI Complete List of Creditors (names and addresses of all creditors)                    0 Last 4 digits of SSN
 El Pro Se Affidavit (signature must be notarized,                                       D Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                    CI Statistical Estimates
 CI Signed Statement of SSN                                                              1=1 Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
CI Statement of Financial Affairs                                                                           Case filed via:
                                                                                   El Intake Counter by:
CI Schedules: A/B C D El FGHIJ CI J-2 (separate household of Debtor 2)
                                                                                        CI Attorney
CI Summary of Assets and Liabilities
                                                                                        CM Debtor 470-348-9914
CI Declaration About Debtor(s) Schedules
                                                                                        CI Other:
CI Attorney Disclosure of Compensation
CI Petition Preparer's Notice, Declaration and Signature (Form 119)                Cl Mailed by:
CI Disclosure of Compensation of Petition Preparer (Form 2800)                         D Attorney
CI Chapter 13 Current Monthly Income                                                   O Debtor
D Chapter 7 Current Monthly Income                                                     CI Other:
CI Chapter 11 Current Monthly Income
1=1 Certificate of Credit Counseling (Individuals only)                           Cl Email [Pursuant to General Order 45-2021, this petition
CI Pay Advices (Individuals only) (2 Months)                                      was received for filing via email]
CI Chapter 13 Plan, complete with signatures (local form)
D Corporate Resolution (Non-Individual Ch. 7 & 11)
                                                                                                 History of Case Association
                                                                                   Prior cases within 2 years:
 MISSING DOCUMENTS DUE WITHIN 30 DAYS
 O Statement of Intent — Ch.7 (Individuals only)
                                                                                   Signature:
Ch.11 Business                                                                     Acknowledgment of receipt o Defi            ncy Notice
D 20 Largest Unsecured Creditors
CI List of Equity Security Holders
O Small Business - Balance Sheet                                                    Intake Clerk:    .5)n/9'C ID Verified El Date:7/25/23
O Small Business - Statement of Operations
CI Small Business - Cash Flow Statement
CI Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      El Paid $
       LI Pending Pay.Gov, Paid $
       IZI IFP filed (Ch.7 Individuals Only)
       El 2g-Order Granting CI 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
       1:1 2d-Order Denying with filing fee of $ due within 10 days
       El No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                             Atlanta, Georgia 30303
                                                                 404-215-1000
